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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

Gary T. Bell, Clerk                                                               www.innd.uscourts.gov


February 1, 2022


Bank of America, National Association
c/o CT Corporation System
150 West Market Street, Suite 800
Indianapolis, IN 46204


RE:      United States of America v. Shull, et al.; Case No. 1:19-CV-00122

Dear Sir or Madam,

I have been contacted by Judge Holly A. Brady, who presided over the above-mentioned case.

Judge Brady informed me that it has been brought to her attention that while she presided over the
case, she owned stock in Bank of America. Her ownership of stock neither affected nor impacted
her decisions in this case. However, her stock ownership would have required recusal under the
Code of Conduct for United States Judges, and thus, Judge Brady directed that I notify the parties
of the conflict.

Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
following guidance for addressing disqualification that is not discovered until after a judge has
participated in a case:

                  [A]judge should disclose to the parties the facts bearing on
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USDC IN/ND case 1:19-cv-00122-HAB-SLC document 18 filed 02/01/22 page 2 of 10


With Advisory Opinion 71 in mind, you are invited to respond to Judge Brady’s disclosure of a
conflict in this case. Should you wish to respond, please submit your response on or before
February 15, 2022. Any response will be considered by another judge of this court without the
participation of Judge Brady.

Sincerely,



/s/ Gary T. Bell
Gary T. Bell
Clerk of Court
Northern District of Indiana




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USDC IN/ND case 1:19-cv-00122-HAB-SLC document 18 filed 02/01/22 page 3 of 10



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

Gary T. Bell, Clerk                                                               www.innd.uscourts.gov




February 1, 2022



Crossroads Financial Federal Credit Union, f/n/a Portland Forge FCU
Attn: Highest Officer
P.O. Box 896
1102 W. Votaw Street
Portland, IN 47371


RE:      United States of America v. Shull, et al.; Case No. 1:19-CV-00122

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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

Gary T. Bell, Clerk                                                               www.innd.uscourts.gov




February 1, 2022



Clifford Johnson, United States Attorney
US Attorney's Office - FW/IN
1300 S. Harrison St. Rm. 3128
Fort Wayne, IN 46802

RE:      United States of America v. Shull, et al.; Case No. 1:19-CV-00122

Dear Mr. Johnson,

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Northern District of Indiana




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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

Gary T. Bell, Clerk                                                               www.innd.uscourts.gov




February 1, 2022



Kenneth D. Shull
650 W. 3rd Street
Portland, IN 47371

RE:      United States of America v. Shull, et al.; Case No. 1:19-CV-00122

Dear Mr. Shull,

I have been contacted by Judge Holly A. Brady, who presided over the above-mentioned case.

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USDC IN/ND case 1:19-cv-00122-HAB-SLC document 18 filed 02/01/22 page 9 of 10



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

Gary T. Bell, Clerk                                                               www.innd.uscourts.gov




February 1, 2022



Portfolio Recovery Associates, LLC
c/o Corporation Service Company, Registered Agent
135 N. Pennsylvania Street, Suite 1610
Indianapolis, IN 46204

RE:      United States of America v. Shull, et al.; Case No. 1:19-CV-00122

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